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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                                           :
 In Re: AUTOMOTIVE PARTS                   :    Master File NO. 12-md-02311
 ANTITRUST LITIGATION                      :    Honorable Marianne O. Battani
                                           :
                                           :
 THIS DOCUMENT RELATES TO:                 :    MOTION OF END-PAYOR
                                           :    PLAINTIFFS, AUTO DEALER
 All Actions                               :    PLAINTIFFS, THE STATE OF
                                           :    FLORIDA, AND THE CITY OF
                                           :    RICHMOND TO COORDINATE
                                           :    ALL ACTIONS IN MDL 2311
                                           :

      End-Payor Plaintiffs, Auto-Dealer Plaintiffs, the State of Florida, and the
 City of Richmond, (“Moving Plaintiffs”) through their attorneys listed below,
 hereby file this Motion to Coordinate All Actions in MDL 2311 pursuant to
 Federal Rule of Civil Procedure 1 and 28 U.S.C. § 1407 and for their Motion state
 as follows:
      1. Coordination of the actions included in this Multi-District Litigation is
         necessary to accomplish the purposes of Federal Rule of Civil Procedure 1
         to “secure the just, speedy, and inexpensive determination of every action
         and proceeding” and the purposes of 28 U.S.C. § 1407 to provide for “the
         convenience of the parties and witnesses and [to] promote the just and
         efficient conduct” of these actions.
      2. The bases for this Motion are more thoroughly stated in the accompanying
         brief.
      3. Pursuant to L.R. 7.1.(a), Moving Plaintiffs sought concurrence on the
         Motion from Defendants on May 8, 2014 to explain the nature of the

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         Motion and its legal bases. Acting Liaison Counsel for Defendants for
         purposes of this Motion stated that Defendants would consider the Motion,
         but were not able to provide consent at this time. Moving Plaintiffs have
         also sought concurrence from all other Plaintiffs. Moving Plaintiffs have
         conferred with Ford Motor Company, and Ford is considering the Motion.
         Direct Purchaser Plaintiffs do not object to the proposal set forth below for
         motions to dismiss.
      WHEREFORE, Moving Plaintiffs respectfully request this Court enter an
 Order coordinating the actions within In re Automotive Parts Antitrust Litigation,
 MDL No. 2311, as set forth herein.
                                         Respectfully submitted,

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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

                                       :
 In Re: AUTOMOTIVE PARTS               :   Master File NO. 12-md-02311
 ANTITRUST LITIGATION                  :   Honorable Marianne O. Battani
                                       :
                                       :
 THIS DOCUMENT RELATES TO:             :   END-PAYOR PLAINTIFFS, AUTO
                                       :   DEALER PLAINTIFFS, THE
 All Actions                           :   STATE OF FLORIDA, AND THE
                                       :   CITY OF RICHMONDS’
                                       :   MEMORANDUM IN SUPPORT
                                       :   OF MOTION TO COORDINATE
                                       :   ALL ACTIONS IN MDL 2311
                                       :
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                  STATEMENT OF QUESTION PRESENTED

  1.   Whether the Court should enter an order establishing procedures for the
  coordination of the actions within MDL 2311, In re Automotive Parts Antitrust
  Litigation.




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              INDEX OF MOST CONTROLLING AUTHORITIES


  1.   Federal Rule of Civil Procedure 1.
  2.   28 U.S.C. § 1407.
  3.   Federal Rule of Civil Procedure 16(2)(L).




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       In light of the fact that the number of actions in the Automotive Parts
  litigation has grown substantially since both the centralization of MDL 2311 in this
  Court and the initial case protocols were ordered, End-Payor Plaintiffs, Auto
  Dealer Plaintiffs, the State of Florida, and the City of Richmond respectfully
  submit this memorandum in support of their motion to establish procedures to
  coordinate all actions in MDL 2311 pursuant to Federal Rule of Civil Procedure 1
  and 28 U.S.C. § 1407. Moving Plaintiffs propose:
        1. That the cases be organized into tranches for the purpose of resolving
            motions to dismiss.
        2. That (a) meaningful pre-motion conferences be held between the parties,
            (b) thereafter, pre-motion conferences be held with the Court, (c) any
            motions to dismiss be subject to reasonable page limits and briefing
            schedules, and (d) oral argument not be had unless necessary and
            ordered by the Court.
        3. That discovery be coordinated across cases to avoid duplication and
            waste.
        4. That decisions on how to handle class certification be deferred until
            pleading issues are resolved and the temporary and limited stay of
            discovery is lifted.
        Coordination of the actions within MDL 2311 is necessary and appropriate
  in order to best promote the just and efficient resolution of these actions, and to
  preserve the resources of the Court and the parties. Prior to the last status
  conference, the Court added to the agenda the issue of “Use of Stipulations to
  Preserve Issues for Appeal”. Case no. 2:12-md-02311-MOB-MKM, Doc. # 674.
  During the status conference, discussion was held about ways to more efficiently
  manage these cases, and the parties were directed to meet and confer about those
  issues. Set forth below is Moving Plaintiffs’ proposal on how to accomplish this.
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                            I.     PRELIMINARY STATEMENT
           The purpose of transferring actions under 28 U.S.C. § 1407 is to provide for
  the “convenience of parties and witnesses and [to] promote the just and efficient
  conduct of such actions.” 28 U.S.C. § 1407(a). Federal Rule of Civil Procedure 1
  governs the procedure in all civil actions and proceedings in the United States
  District Courts, and provides that the Federal Rules of Civil Procedure “should be
  construed and administered to secure the just, speedy, and inexpensive
  determination of every action and proceeding.”
           The auto component part price-fixing cases centralized before this Court
  would benefit from procedures providing for coordination of common legal issues,
  discovery, procedures for class certification, and resolution by way of settlement or
  trial.
               Fair and efficient resolution of complex litigation requires at least
           that . . . the judge and counsel collaborate to develop and carry out a
           comprehensive plan for the conduct of pretrial and trial proceedings.
  Manual for Complex Litigation (Fourth), § 10. Now is the appropriate time to
  develop a comprehensive plan for the conduct of pretrial proceedings in these
  cases. There are currently twenty-nine auto part cases before this Court in MDL
  2311. Each of the cases is proceeding on a separate schedule, and many of the
  cases involve overlapping or common defendants. Coordination across these cases
  should be implemented because proceeding with the cases on separate tracks
  without coordination is burdensome, inefficient, and wasteful. The Court is
  empowered to adopt “special procedures for managing potentially difficult or
  protracted actions that may involve complex issues, multiple parties, difficult legal
  questions, or unusual proof problems.” Fed. R. Civ. Proc. 16(2)(L). Attached to
  this memorandum as Exhibit A is a list of all cases presently pending in MDL
  2311. Attached to this memorandum as Exhibit B is a spreadsheet showing the
  defendants named in each case.
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        In order to further the goal of just and efficient proceedings, it is essential
  that procedures be established to provide for the coordination of all of these cases
  to avoid waste of resources, duplication of efforts, and burden to the Court and the
  parties. Coordination will further the goals of Fed. R. Civ. Proc. 1 by helping to
  ensure the efficient conduct of these actions towards resolution by settlement or
  trial. Failure to provide for coordination will create delay and inefficiencies,
  duplicative discovery, and unjustifiable burdens for the Court, all parties, and
  many non-parties. For the reasons more fully set forth below, it is necessary and
  proper that the Court enter an order providing procedures for the coordination of
  all actions within MDL 2311.

                                    II.    ARGUMENT
  A.    Overview
       The historic scope and complexity of MDL 2311 has been lost on
  neither the Court nor the parties to its constituent cases. Recently, the Court
  summarized, in part, the history of this litigation, the centralization of the
  constituent cases, and the purposes behind that centralization:
            On February 7, 2012, the United States Judicial Panel on
        Multidistrict Litigation (“Judicial Panel” or “Panel”) transferred
        actions sharing “factual questions arising out of an alleged conspiracy
        to inflate, fix, raise, maintain, or artificially stabilize prices of
        automotive wire harness systems” to the Eastern District of Michigan.
        (12-md-02311, Doc. No. 2). In its transfer order, the Judicial Panel
        noted that the majority of cases were pending in the Eastern District,
        as was the first filed action, that several defendants were located in
        this district, and that a related criminal investigation was underway in
        this district. (Id.) The Panel determined that centralizing litigation in
        this District would eliminate duplicative discovery, prevent
        inconsistent pretrial rulings and conserve resources. (Id.) After
        complaints were filed alleging conspiracies to fix prices of three
        additional component parts, the Judicial Panel determined that
        including all actions in MDL No. 2311 would result in the most
        efficient handling of the case. The Judicial Panel noted the existence
        of similar conspiracies with overlapping defendants arising from the
        same government investigation as well as an overlap of parties and
        counsel. The additional component part cases were transferred to this

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        Court for coordinated pretrial proceedings, and In re: Automotive
        Wire Harness Systems Antitrust Litigation was renamed “In re:
        Automotive Parts Antitrust Litigation.” (Doc. No. 117 in 12-2311).
        There are now twenty-eight component part cases pending. (See Doc.
        No. 665 in 12-2311).
  Opinion and Order Denying Defendants’ Collective Motion to Dismiss Direct
  Purchaser Actions, Master File 12-md-2311, case no. 2:12-cv-00401 (Heater
  Control Panels), Doc. # 78 (April 30, 2014). From the outset, the Judicial Panel on
  Multidistrict Litigation and this Court have emphasized that centralization and
  coordination of pre-trial proceedings was necessary to move the constituent cases
  forward efficiently and to “eliminate duplicative discovery, prevent inconsistent
  pretrial rulings and conserve resources.”

  B.    Coordination is Necessary and Appropriate to Resolve Pleadings
        Issues
       The factual and legal issues involved in these cases substantially overlap. In
  the first filed six cases Defendants have filed nearly identical motions to dismiss
  repeating the very same arguments. The Court has now issued orders denying
  motions to dismiss in four of these cases (Wire Harnesses, Heating Control Panels,
  Instrument Cluster Panels, and Fuel Senders). Each of those motions involved the
  same issues, and other than discrete issues unique to the plaintiffs in some of these
  actions, every issue was resolved by the Court in an identical manner. In addition,
  in the Wire Harness case, the Court has denied the motion to dismiss brought
  against Ford Motor Company by the Fujikura defendants, which repeated the same
  arguments made in the prior motion to dismiss the Direct Purchaser case in Wire
  Harness.
        The Court has largely denied motions to dismiss brought against the Indirect
  Purchaser Plaintiffs – the Auto Dealers and End-Payors – and has reviewed
  briefing and heard oral argument on additional motions to dismiss brought against
  those Plaintiffs’ claims in Heating Control Panels, Instrument Cluster Panels, and

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  Fuel Senders. Each of these motions presents virtually identical issues. In
  addition, the parties have again briefed these identical issues in another two cases,
  Occupant Safety Systems and Bearings, and oral argument of those motions is
  scheduled for June 4, 2014. Motion practice and resolution of motions challenging
  the pleadings in these cases is causing an unjustifiable consumption of the Court’s
  and the parties’ resources and needless delay. If Defendants in the later filed cases
  in MDL 2311 are permitted to file motions making the same arguments on the
  same protracted briefing schedule, motions directed at the pleadings will not be
  resolved for years even though the Court has already repeatedly decided these
  issues. Below, Plaintiffs set forth a proposal to resolve this problem.

  C.    Coordination is Necessary and Appropriate to Avoid Waste and
        Burden and to Provide for the Efficient Conduct of Discovery
        While discovery in the Wire Harness cases has begun, it is at a relatively
  early point. Defendants who produced documents to the Department of Justice
  have produced those documents to Plaintiffs. Plaintiffs have responded to
  Defendants’ requests for the production of documents, and have produced
  documents to Defendants. Plaintiffs and Defendants have served and responded to
  each others’ interrogatories. The parties are negotiating a Supplemental Discovery
  Plan and Deposition Protocol for Wire Harness. The negotiation of those
  documents has required a significant devotion of attorney time on all sides, and has
  reinforced the conclusion that coordination across all cases is necessary, and that
  the failure to coordinate discovery will create needless burden, duplication, and
  delay. Manual on Complex Litigation (Fourth), § 11.455 (“[i]n related cases
  pending before the same judge, it is best to coordinate discovery plans to avoid
  conflicts and duplication”). If this motion is granted, those documents can serve as
  a template and be modified to provide procedures for coordination in order to
  eliminate unnecessary delay and to reduce the burdens on the Court and the parties.

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        Now that the Court has issued rulings on motions to dismiss the Direct
  Purchasers’ complaints in the Heating Control Panel, Fuel Sender, and Instrument
  Panel Cluster cases, much of the discovery work completed and to be completed in
  Wire Harness will now be repeated, on separate tracks, in those cases if there is no
  coordination. Even Defendants recognize the inefficiencies as they have proposed
  language for inclusion in the Wire Harness Deposition Protocol that the parties
  should use “best efforts” to avoid multiple depositions of Defendants’ employees if
  they are “likely to be deposed” in connection with cases involving another
  component part. This can only be accomplished through the coordination of
  discovery. For example, Sumitomo is only a defendant in the Wire Harness and
  Heating Control Panels cases. Moving Plaintiffs and Sumitomo should be
  conducting all the discovery that is necessary of Sumitomo at one time, not once
  for Wire Harness and again for Heating Control Panels. Likewise, Yazaki is only a
  defendant in the Wire Harness, Fuel Senders, and Instrument Cluster Panels cases.
  Denso is a defendant in Wire Harness, Fuel Senders, Instrument Cluster Panels,
  and Heating Control Panels, among other cases. As to each of these cases,
  discovery from these defendants will largely involve the same custodians, the same
  or similar search terms, and the same sources of ESI and paper documents. This
  discovery should proceed all at once, not case-by-case (i.e., part-by-part).
        The need for coordination in discovery applies with particular force to non-
  party discovery. Non-parties have arguments about the burden of discovery which
  parties do not have. The Indirect Purchaser Plaintiffs will require non-party
  discovery in these actions in order to prepare class certification motions. This
  discovery will involve information in the possession of entities that purchase
  directly from defendants, including auto makers and their suppliers, who were
  immediate victims of Defendants’ collusion. It would be inappropriate to subject
  these non-parties to successive rounds of discovery in case-after-case, rather than
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  more limited and focused discovery at a time when Moving Plaintiffs are informed
  what that discovery should be.
        The stay of discovery relating to the Department of Justice’s investigation
  provides an additional, compelling reason to coordinate these cases. The most
  expensive aspect of discovery in litigation is the negotiation over, search for,
  production, and hosting of documents. It would be unjustifiably wasteful to go
  through this process over and over again. Below, Moving Plaintiffs set forth a
  proposal to coordinate discovery.

  D.    Coordination is Necessary and Appropriate For Class
        Certification Proceedings
       Coordination of the cases is important to permit appropriate treatment of class
  certification issues. Until discovery in these cases has progressed to the point that
  the parties have an adequate understanding of the scope of defendants’ conduct, its
  purposes, and the effect on plaintiffs’ classes, it would be counterproductive to
  schedule, prepare, brief, argue and decide class certification motions. In light of
  the Supreme Court’s decision in Comcast v. Behrend, ___ U.S. ___, 133 S. Ct.
  1426 (2013), that merits issues must be considered to the extent that they are
  necessary to resolve Rule 23 questions, it is premature to go forward with a
  schedule for class certification in any single case until the Court and the Moving
  Plaintiffs better understand the nature and scope of the conspiracy. Accordingly,
  Moving Plaintiffs will not at this time present a uniform schedule for class
  certification. However, this motion does not preclude any party from raising
  issues related to the class certification schedule once full discovery in these cases is
  permitted and commences.




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  E.   Resolution of these Cases is Best Accomplished Through
       Coordination
       Coordination is beneficial for the resolution of these cases through settlement
  or ultimately through trial. A few settlements have been reached in some of the
  cases, and discussions between the parties in various other cases are progressing.
  However, the protracted and unnecessarily duplicative process for resolving
  challenges to the pleadings is an impediment to settlement because many
  Defendants may believe that the cases they are involved in will not be at issue for
  several more years. This is an untenable and unnecessary situation.
  F.    The Cases Should be Organized into Tranches
        1.     Organization
        Moving Plaintiffs propose that the cases be organized into tranches based
  upon which defendants are in which cases. The tranches should be organized so
  that they proceed on contemporaneous tracks through motions to dismiss and
  discovery
        Tranche One:        Wire Harness, Fuel Senders, Instrument Cluster Panels
  and Heating Control Panels. These cases share the key common defendants
  Yazaki, Sumitomo, and Denso.
        Tranche Two: Bearings, Occupant Safety Restraint Systems, Anti-Vibration
  Rubber, Electric Power Steering Assemblies, and Constant Velocity Joint Boots.
  These cases share the key common defendants Autoliv, JTEKT, DTR, Nachi,
  NSK, NTN, Schaeffler, Takata, Tokai Rika, TRW, Tokai Rubber, Yamashita
  Rubber, and YUSA.
        Tranche Three: Alternators, Radiators, Starters, Wipers, Lamps,
  Windshield Washer Systems and Automatic Transmission Fluid Warmers. These
  cases share the key common defendants Denso, Hitachi, Ichikoh, Mitsubishi
  Electric, Mitsuba, TRAD, Stanley, and ASMO.

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        Tranche Four: Ignition Coils, Air Flow Meters, Valve Timing Control
  Devices, A/C Systems, Fan Motors, ETB and Power Window Motors. These cases
  share the key common defendants Denso, Diamond Electric, Hitachi, Mitsuba,
  Mitsubishi, and Valeo.
        Tranche Five: Switches, Steering Angle Sensors, HID Ballasts. The key
  defendant in these cases is Panasonic.
        Tranche Six: Inverters, Motor Generators, Fuel Injection Systems. Key
  defendants in these cases are Hitachi and Denso.
  G.    Proposal for Resolution of Motions to Dismiss
        1.     Rationale
        The Court has had full briefing and oral argument and decided motions in
  four of the direct purchaser actions. Briefing was extensive with expanded page
  limits. Oral argument in each case was lengthy. In each of those actions, despite
  Defendants’ suggestions to the contrary, the same arguments were repeated over
  and over: adequacy of pleading, standing, the statute of limitations, and the right
  to seek injunctive relief. In each of those actions, the results were the same. There
  are better ways to resolve pleadings issues than to permit the repeated, protracted
  briefing of motions making the same arguments.
        As to the Indirect Purchaser actions, the foregoing paragraph applies equally
  to determinations of adequacy of pleading and the statute of limitations. As to the
  state law issues decided by the Court in Wire Harness but yet to be decided in
  subsequent cases, there is no reason for different rulings. Whether or not
  Associated General Contractors v. California State Council of Carpenters, 459
  U.S. 519 (1983), applies to the Indirect Purchasers’ claims should not be decided
  any differently depending upon what automotive parts are at issue. Whether
  Indirect Purchasers have suffered injury should not be decided any differently
  depending upon what automotive parts are at issue. Once the Court has issued its
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  rulings in the cases presently under submission – Heating Control Panels, Fuel
  Senders, and Instrument Panel Clusters – there is no reason to repeat protracted
  briefing and argument.
        2.     Motion to Dismiss Procedure
       As mentioned above, at the last status conference the Court and the parties
  discussed the issue of a stipulation to preserve issues on appeal. End-Payor
  Plaintiffs conferred with Plaintiffs’ counsel and provided a proposed stipulation to
  Defendants for their consideration. Defendants responded with a proposed
  stipulation of their own. Because the parties were not able to reach an agreement,
  Moving Plaintiffs propose the following procedure for any further motions to
  dismiss:
        1. Prior to the filing of any motion to dismiss in any case for which briefing
               has not commenced, a meaningful meet-and-confer between the
               parties concerning the motion must be held. The parties must
               specifically address:
               a. whether any issue which any movant seeks to move has been
                     addressed by the Court before;
               b. if so, what the resolution was; and
               c. the movant’s justification for seeking a result contrary to the prior
                     resolution.
        2. Prior to any motion being filed, a pre-motion conference shall be held
               with the Court. No less than seven days before the pre-motion
               conference, each side may file a single, three page statement setting
               forth their position on whether the proposed motion addresses any
               matter not previously addressed by the Court.




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        3. If the Court permits motions to dismiss to be filed, there shall be no joint
               briefs other than for defendants within a single corporate group and
               briefing shall be subject to the following limits:
               a. Ten page opening briefs;
               b. Ten page responses; and
               c. Seven page replies.
        4. There shall be no oral argument unless ordered by Court.
        This procedure would be followed Tranche by Tranche. All cases in
  Tranche One have already been fully briefed and argued, and orders have been
  entered on many of those motions. Two of the cases in Tranche Two – Bearings
  and OSSR – already have fully briefed motions. At this time, there are no pending
  motions in any of the other cases, nor is there a schedule for such motions. For this
  reason, now is an especially opportune time to establish this structure and to
  commence briefing on the remaining cases in Tranche Two -- Anti-Vibration
  Rubber, Electric Power Steering Assemblies, and Constant Velocity Joint Boots.
  Tranches Four, Five, and Six would then follow with each Tranche following the
  pre-motion conference requirements and briefing procedures. Moving Plaintiffs
  propose that individual tranches come before the Court for decision on motions to
  dismiss in 90-day cycles. This proposal would accelerate the resolution of all
  motions directed at the pleadings.
  H.    Discovery
        1.     Now is an Especially Appropriate Time to Order Coordination of
               Discovery
        The current stay limits discovery concerning the merits of all of the cases,
  creating areas of discovery which are permitted and areas of discovery which at
  present are not permitted. This applies equally to all cases. Given the Court’s
  rulings on the previous motions to dismiss, there is no basis for any defendant to

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  argue that discovery should be stayed pursuant to Bell Atlantic v. Twombly, 550
  U.S. 544 (2007). Phased discovery based upon the procedures to be established in
  Wire Harness should proceed in all cases as set forth below.
        2.     Written Discovery and Transactional Data
       Within 90 days of service of the consolidated amended complaint in each
  class case (or within ninety days of an order providing for coordination for any
  case in which a consolidated amended complaint has previously been served) (a)
  each defendant shall produce transactional data consistent with the resolution of
  disputed issues in Wire Harness and initial disclosures pursuant to Fed. R. Civ.
  Proc. 26(a), and (b) those defendants who have pled guilty should identify specific
  products that were the subject of a guilty plea or collusive conduct. The
  Department of Justice would be given notice and an opportunity to be heard before
  this discovery would be permitted. Thereafter, the parties should be free to serve
  document requests, interrogatories, and requests for admission concerning matters
  not within the scope of the stay.
        Once the stay is lifted, the remaining discovery should be coordinated across
  all cases in each tranche, and across tranches with respect to certain common
  defendants. Denso, for example, is a defendant in ten cases. Hitachi is a defendant
  in eight cases. It would be a waste of resources to conduct discovery against these
  defendants one case at a time.
        3.     Depositions
               a.    Defendant Witnesses
        Defendants seek to avoid duplicative depositions of their employees. This is
  a salutary goal. It can only be achieved by coordination of discovery. For
  example, if an employee of Denso was involved in collusion in multiple cases, the
  deposition of that employee should be conducted once when appropriate discovery
  is taken concerning that employee’s involvement in collusion across those cases.
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  Otherwise, it would be wasteful for the employee to be deposed over and over
  again. Moving Plaintiffs would not be able to properly conduct the deposition if
  they were only allowed to examine the witness about that witness’ involvement in
  collusion directed only at a single part. The same is true of each of the numerous
  Defendants that is involved in multiple cases.
        Coordinating these depositions is also necessary to avoid extraordinary and
  unnecessary costs. Defendants may insist that their present employees be deposed
  where they reside. Many of these employees reside in Japan. Taking depositions
  in Japan is expensive and burdensome, as esoteric procedures must be followed
  under Japanese law and the depositions may only be taken at consulates. It would
  not be appropriate to force Moving Plaintiffs to go through this process time and
  again, returning to Japan to depose a witness who was previously deposed in
  another case.
               b.     Class Representatives
        Plaintiffs have the same interest as Defendants in avoiding repetitive
  depositions. Most of the Indirect Purchaser Plaintiffs are class representatives in
  multiple cases. There is no good cause for these plaintiffs to be deposed in each
  case, nor is there any good reason for their depositions to be taken at an early part
  of this case when the extent of Defendants’ collusion is not yet known. Instead,
  they should be made available for deposition once for all pending cases in which
  they are plaintiffs, and all defendants in those cases should coordinate their
  examination of that plaintiff. By way of example, if a Toyota Camry purchaser is a
  plaintiff in multiple cases, the bulk of any examination will be the same. She will
  be examined on why she is a class representative, her knowledge of the case, her
  fulfillment of her responsibilities as a class representative, and her purchase of the
  Camry. This examination will be no different whether the case at issue is Wire
  Harness, or Heating Control Panels, or any other case. There is no reason for this
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  class representative to be deposed over and over again (perhaps up to 29 times). It
  would only cause waste, delay, and harassment of the class representative.
        4.     Non-Party Discovery
       These cases will involve non-party discovery, most of it involving direct
  purchasers including auto makers and their suppliers who were immediate targets
  of Defendants’ conspiracy. This discovery is relevant to the issues of impact of
  Defendants’ collusion and the pass-through of increased costs to downstream
  purchasers like the Auto Dealers and End-Payors. Discovery of third-parties must
  be conducted in a manner which lessens their burden relative to the discovery that
  is permitted of parties. See, e.g., American Elec. Power v. United States, 191
  F.R.D. 1432, 134 (S.D. Ohio 1999) (“[c]ourts are required to balance the need for
  discovery against the burden imposed on the person ordered to produce documents,
  and the status of a person as a non-party is a factor that weighs against
  disclosure”); see also Manual on Complex Litigation (Fourth), § 11.47 (“[a] party
  seeking such production [from a non-party] has a duty to take reasonable steps to
  avoid imposing undue burden or expense on the person subpoenaed”). Indirect
  Purchasers will be seeking productions of documents and deposition testimony
  from affected direct purchasers including auto makers and their suppliers relating
  to each part at issue in these cases. This discovery must be coordinated across all
  parts so that the direct purchasers such as auto makers are not subjected to repeated
  discovery concerning the same essential topics.
        5.     Active Involvement of the Court
       In order to further the goal of efficiency, the parties to the cases in each
  Tranche should provide reports to the Court every sixty days identifying any
  outstanding issues which require the Court’s attention, with telephonic conferences
  scheduled as necessary to address any issues. When disputes arise, the parties shall
  be required to meet and confer in person when the Court is available so that if the
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  parties are unable to resolve disputes themselves the disputes may be resolved
  immediately by the Court.
  I.     Class Certification
       The Court has rejected plausibility challenges to the complaints in four of
  these actions, and given the many, many guilty pleas it is unlikely that this will
  change in any of the later-filed actions. The focus of proceedings in these cases
  will be class certification. The best way to manage these cases would be to defer
  any schedule or structure for class certification until (1) all pleadings issues are
  resolved, (2) the stay has been lifted, and (3) the Court and the Moving Plaintiffs
  have developed a fuller understanding of the nature and scope of Defendants’
  conspiracies. It would be illogical to proceed to class certification proceedings
  involving one component part while discovery and proceedings continue in other
  cases for many reasons, including the fact that the scope of the conspiracy may not
  be fully known. Moving Plaintiffs are entitled to know the extent of the collusive
  conduct before they have to decide the best manner to proceed with class
  certification.
  J.     Resolution of These Cases Will Be Furthered by Coordination
       These cases will be resolved by trial, settlement, or summary judgment.
  The Court has observed:
               I look at it because looking ahead to try to reach a resolution of
         this matter, which is hard for me to fathom except that, you know, it is
         a car so we have to have everything there. I can’t see that we are
         going to be settling with one part and not other parts. I see this as
         kind of a global settlement.
  Transcript of September 14, 2012 hearing, p. 25:22-26:2.
       Coordination will enhance the possibility of resolution in each of these
  instances. For example, Denso is a defendant in ten cases. If Denso pursues
  settlement with Plaintiffs, it will seek to resolve all of the cases against it, rather
  than settling some while continuing to defend against others. It would be wasteful
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  for any defendant that is in multiple cases to prepare and file summary judgment
  motions part-by-part, protracting such motions over years, rather than being able at
  the appropriate time to move for summary judgment across all cases. The
  management of these cases for trial will also be enhanced by coordination. There
  may be compelling reasons to try cases involving several parts at once. The
  efficiencies of proceeding in this manner are apparent, and there is no reason to
  believe that coordinating these cases would cause any unfair prejudice to any party.
  K.    The Proposed Coordination Will Not Limit the Court’s or Any
        Party’s Ability to Address Additional Scheduling and Discovery
        Issues
       Moving Plaintiffs submit that the coordination proposals addressed above will
  benefit all parties in the MDL 2311 cases by providing an efficient means to
  resolve early motion practice and commence discovery. However, Moving
  Plaintiffs recognize that unique issues arising in some or all of the cases may
  require the Court to implement additional procedures and mold schedules and
  discovery to fit particular circumstances. Accordingly, nothing in this motion is
  designed to the limit the ability of any party to raise additional issues or to make
  subsequent proposals.

                                   III.   CONCLUSION

       These cases have been coordinated because they involve one overarching
  common issue: collusion among manufacturers of component parts of
  automobiles. The interests of justice, conservation of judicial resources, and a fair
  and efficient resolution are best accomplished by coordinating these actions as set
  forth herein to avoid duplication and waste.

  Dated: May 9, 2014                      Frank C. Damrell, Jr.
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